Case 8:21-cv-00888-FLA-KK Document 23 Filed 11/09/21 Page 1 of 1 Page ID #:1541




  1
  2
  3
  4
  5
  6
                           UNITED STATES DISTRICT COURT
  7
                          CENTRAL DISTRICT OF CALIFORNIA
  8
  9
 10    SUSANO PEREZ,                              Case No. 8:21-cv-00888-FLA (KK)
 11                             Petitioner,
 12                       v.                      ORDER ACCEPTING FINDINGS
                                                  AND RECOMMENDATION OF
 13    PATRICK EATON, Warden,                     UNITED STATES MAGISTRATE
                                                  JUDGE
 14                             Respondent.
 15
 16
 17         Pursuant to 28 U.S.C. § 636, the court has reviewed the Petition for a Writ of
 18   Habeas Corpus, the records on file, and the Report and Recommendation of the
 19   United States Magistrate Judge. The court has engaged in de novo review of those
 20   portions of the Report to which Petitioner has objected. The court accepts the
 21   findings and recommendation of the Magistrate Judge.
 22         IT IS THEREFORE ORDERED that Judgment be entered (1) granting the
 23   Motion to Dismiss; and (2) dismissing the Petition with prejudice.
 24
 25   Dated: November 9, 2021
                                              FERNANDO L. AENLLE-ROCHA
 26                                           United States District Judge
 27
 28
